
PER CURIAM.
Alirio Grisales appeals final summary judgment entered in favor of Beatriz Eber on his claim for negligence. We affirm. See Fuentes v. Sandel, Inc., 189 So.3d 928 (Fla. 3d DCA 2016) ; Clerkin v. Kendall Town &amp; Country Assocs., Ltd., 535 So.2d 288 (Fla. 3d DCA 1988) ; Cecile Resort, Ltd. v. Hokanson, 729 So.2d 446 (Fla. 5th DCA 1999) (noting that owner's insistence that work be completed the next day did not amount to exercise of control over project such that owner owed a duty of care to an independent contractor).
Affirmed.
